                        Case 23-16926-RAM         Doc 69      Filed 05/21/24     Page 1 of 3



                                   UNITED STA TES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                               CASE NO: 23-16926-RAM
         INRE:
         MAGALY GONZALEZ
               Debtor


                         TRUSTEE'S OBJECTION TO CLAIM ON NEGATIVE NOTICE
                             TO CLAIM# 2 FILED BY ONEMAIN FINANCIAL

                                     IMPORTANT NOTICE TO CREDITORS

                        This ob,jection seeks either to disallow or reduce the amount or change the
        priority status of the claim filed by you or on your behalf. Please read this objection
        carefully to identify which claim is ob,jected to and what disposition of your claim is
        recommended.
                If you disagree with the objection or the recommended treatment, you must file a
        written response WITHIN 30 DAYS from the date of service of this ob,jection, explaining
        why your claim should be allowed as presently filed, and you must serve a copy to the
        undersigned Trustee, Nancy K Neidich, Esquire, P.O. Box 279806, Miramar, Florida
        33027. OR YOUR CLAIM MAY BE DISPOSED OF IN ACCORDANCE WITH THE
        RECOMMENDATION IN THIS OBJECTION.
                If your entire claim is objected to and this is a chapter 11 case, you will not have the
        right to vote to accept or reject any proposed plan of reorganization until the ob.iection is
        resolved, unless you request an order pursuant to Bankruptcy Rule 3018(a) temporarily
        allowing your claim for voting purposes.
                The written response must contain the case name, case number, and must be filed
        with the Clerk of the United States Bankruptcy Court.

                 Pursuant to Bankruptcy Rule 3007, the Trustee objects to the following claims(s) filed in

        this case:

        Claim#          Name of Claimant
        2               ONEMAIN FINANCIAL.

        Recommended Disposition Strike and Disallow: The Claims Bar Date was November 8, 2023.
        The Claims Bar Date is like a statute of limitations and must be strictly enforced. The debtor's
        plan fails to disclose treatment of this creditor.
                If the Creditor files a Motion to Allow the claim, the creditor should agree that they no
        longer have stay relief and that the claim will be discharged as payments will now be under the plan.
        See In re Dukes, 909 F.3d 1306, 1313 (11th Cir. 2018).

        The Trustee requests proof of:
              a) Date the creditor took possession of the collateral

LF-25 (rev. 12/01/15)
                         Case 23-16926-RAM         Doc 69      Filed 05/21/24     Page 2 of 3




                 b) How the collateral was sold, or if not at public auction - limited to parties permitted to
         bid- proof of value at sale

         Legal Objection:
                  1) An amended unsecured claim seeks a change in the pro rata distribution of payments to
         each unsecured creditor. An unsecured creditor may move to modify the plan to alter the amount
         of distribution to that creditor whose claim is provided for by the plan to take account of the
         payment of the claim by the disposition of its collateral. 11 U.S.C. §1329(a)(3).
                  There is no operation of law that requires a change in the distribution under the plan due
         to a late amended claim. Nor is there an automatic allowance of a late amended claim. Without
         an order from the Court, the late amended claim is ineffective.
                  2) The claim was amended without notice to the allowed unsecured creditors.

                 3) If a secured creditor, whose claim is to be paid directly by the debtor according to the
         plan, amends its claim to seek an unsecured claim based on a post confirmation deficiency, issues
         arise with disposable income, valuation, and post petition payments received. If the debtor has
         reduced his disposable income by the contract payment on that collateral, the secured creditor is
         already provided for in the debtor's disposable income through the proposed direct monthly
         payments. 11 U.S.C. §1329(a)(3) The plan may need to be modified to increase the debtor's
         disposable income payments to the unsecured claims by the amount they have not paid and arc
         no longer paying to the secured creditor.

                 4) If the secured collateral is surrendered or repossessed, the creditor must quickly
         dispose of the collateral, meet all the requirements to obtain a deficiency under state law, and
         meet all the clements necessary to obtain an allowed amended claim to be paid through the plan.
         Jn re Barrett, 543 F.3d 1239, 1247 (11th Cir. 2008). This requires a finding of facts by the court.

                 5) Under Florida Law, the creditor needs to prove that collateral was sold in a
         commercially reasonable manner. Commercial reasonableness is the disposition of collateral "in
         conformity with reasonable commercial practices among dealers in the type of property that was
         the subject of the disposition." S. Developers & Earthmoving, Inc. v. Caterpillar Fin. Servs.
         Corp., 56 So. 3d 56, 60 (Fla. Dist. Ct. App. 2011). Sec§ 679.627(2)( c). If the creditor is unable
         to prove that the disposition of the collateral was in a commercially reasonable manner, the
         creditor may introduce evidence of the fair market value of the collateral at the time of
         repossession to determine the deficiency. Weiner v. Am. Petrofina Mktg., Inc., 482 So. 2d 1362,
         1364 (Fla. 1986).
                 If the creditor fails to immediately dispose of the collateral upon the Court's order lifting
         the stay or confirming the plan, the creditor must also reduce the deficiency by any depreciation
         caused by the delay. The value of the collateral is determined by its condition at the time the
         creditor takes possession, not by the date of the sale. In re Severance Truck Line, Inc., 35 B.R.
         332, 333 (Bankr. M.D. Fla. 1983) (Creditor held collateralfor 2 months and collateral was no
         longer in same condition). If the value of the collateral depreciates due to the creditor holding
         the collateral after relief from stay is obtained by the order of confirmation, the creditor should
         not benefit from the delay.

                 6) A creditor must prove all the clements to allow a late amended claim. Bankruptcy
         courts freely allow amended claims where the purpose is to cure a defect in the claim as

LF-25 (rev. 12/01 /15)
                        Case 23-16926-RAM          Doc 69     Filed 05/21/24     Page 3 of 3



         originally filed, to describe the claim with greater particularity, or to plead a new theory of
         recovery on the facts set frnth in the original claim, not to substitute a different cause of action.
         Sec Szatkowski v. Meade Tool & Die Co., 164 F.2d 228, 230 (6th Cir.1947). But late amended
         claims are subject to careful scrutiny to assure that there was no attempt to file a new claim under
         the guise of amendment. In re Int'! Horizons, Inc., 751F.2d1213, 1216 (11th Cir. 1985).
                 The Bankruptcy Rules do permit the filing of an unsecured claim within 30 days of the
        judgment which creates that unsecured claim. F.R.B.P. 3002( c)(3). The Court's order of
         confirmation of a plan surrendering collateral, or a previously entered order of relief~ creates the
        unsecured claim. In re Winn-Dixie Stores, Inc., 639 F.3d 1053, 1056 (11th Cir. 2011).
         ( "[C]onfirmation ofa reorganization plan is equivalent to a final.Judgment.").
                 The Trustee believes that the Creditor must file a late amended claim within 30 days of
        the first order creating the unsecured claim or file a motion to extend the time to file the claim
        within the 30 days after repossession of the vehicle.
                 The Eleventh Circuit has outlined five factors for a court to consider when permitting an
        amended claim: (1) whether the debtors and creditors relied upon the creditor's earlier proofs of
        claim or whether they had reason to know that subsequent proofs of claim would be filed; (2)
        whether other creditors would receive a windfall by the court's refusing to allow amendment; (3)
        whether the creditor intentionally or negligently delayed in amending its proof of claim; (4) the
        justification for failure of the creditor to file for a timely extension to the bar date; and (5)
        whether equity requires consideration of any other factors. United States v. Int 'l Horizons, Inc.
        (lnreint'lJJorizons, Inc.), 751F.2d1213, 1218(11thCir.1985). Acreditorfilingalate
        amended claim must satisfy all of these factors ..

                                                               RESPECTFULLY SUBMITTED:
                                                               NANCY K. NEIDICH, ESQUIRE
                                                               STANDING CHAPTER 13 TRUSTEE
                                                               P.O. BOX 279806
                                                               MIRAMAR FL 3 027-9806


                                                                          c K. Neidich, Esq.
                                                                       Chapter 13 Trustee
                                                                       Amy E. Carrington, Esq.
                                                                       Senior Staff Attorney
                                                                       FLORIDA BAR NO: 101877



                                           CERTIFICATE OF SERVICE

               I hereby certify that a true and correct copy of the foregoing Objection to Claim # 2 was
        served through NEF on debtor's attorney and by US First Class Mail to ONEMAIN FINANCIAL
        P.O. Box 3251, Evansville, JN 47731-3251 and ONEMAIN FINANCIAL GROUP, LLC, CT
        CORPORATION SYSTEM, 1200 SOUTH PINE ISLAND ROAD LANTATION, FL 33324
        on _______0-f--21J102't----~--:
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LF-25 (rev. 12/01/15)
